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UNITED STATES BANKRUPTCY COURT, NORTHERN DISTRICT OF ILLINOIS, EASTERN DIVISION

RE: CRYSTAL SIMMONS                                     ) Case No. 19 B 03968
                                                        )
                                                 Debtor ) Chapter 13
                                                        )
                                                        ) Judge: JACK B SCHMETTERER


                                              NOTICE OF MOTION


   CRYSTAL SIMMONS                                                        DAVID M SIEGEL
                                                                          via Clerk's ECF noticing procedures
   3726 W DOUGLAS #107
   CHICAGO, IL 60623

   Please take notice that on May 15, 2019 at 11:00 am my designee or I will appear before the Honorable
   Judge JACK B SCHMETTERER at 219 South Dearborn Courtroom 682, Chicago, IL and present the
   motion set forth below.

   I certify under penalty of perjury that this office caused a copy of this notice to be delivered to the persons
   named above by U.S. mail at 55 E Monroe St., Chicago, IL or by the methods indicated on April 10 , 2019.


                                                                            /s/ Tom Vaughn


                   TRUSTEE'S MOTION TO DISMISS FOR UNREASONABLE DELAY

   Now comes Tom Vaughn, Trustee in the above entitled case and moves the Court to dismiss this case in
   support thereof states:

   1. On February 14, 2019 the Debtor filed a petition and plan under Chapter 13 of Title 11 U.S.C.

   2. That the above-captioned plan has not yet been confirmed .

   3. That the Debtor has caused unreasonable delay that is prejudicial to creditors by failing to:

   Amend plan to insert tax refund language .




   WHEREFORE, the Trustee prays that this case be dismissed for unreasonable delay by the debtor pursuant
   to 11 U.S.C. § 1307 (c) (1).
                                                                      Respectfully submitted,
   TOM VAUGHN
   CHAPTER 13 TRUSTEE                                                       /s/ Tom Vaughn
   55 E. Monroe Street, Suite 3850
   Chicago, IL 60603
   (312) 294-5900
